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                                            UNITED STATES DISTRICT COURT
              10
                                        CENTRAL DISTRICT OF CALIFORNIA
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              12
                   UNITED STATES OF AMERICA,                     Case No. 5:23-cr-00021-JGB
              13
                               Plaintiff,                        DECLARATION OF STEPHEN G.
              14                                                 LARSON IN SUPPORT OF JASON
                        vs.                                      CARDIFF’S EX PARTE
              15                                                 APPLICATION FOR PERMISSION
                 JASON EDWARD THOMAS                             TO TRAVEL TO KANSAS CITY
              16 CARDIFF,
                                                                 [Filed concurrently with Ex Parte
              17               Defendant.                        Application and [Proposed] Order]
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LOS ANGELES        DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S EX PARTE APPLICATION
                                       FOR PERMISSION TO TRAVEL TO KANSAS CITY
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 1                    DECLARATION OF STEPHEN G. LARSON
 2 I, Stephen G. Larson, declare as follows:
 3        1.     I am a partner with Larson LLP, and I represent Jason Cardiff in this
 4 matter. I make this declaration in support of Jason Cardiff's Ex Parte Application
 5 for Permission to Travel to Kansas City.
 6        2.     Mr. Cardiff has been released on a $530,000 appearance bond, justified
 7 in the amount of $500,000 with full deeding of real property. His release conditions
 8 include, among other conditions: a travel restriction to the Central District of
 9 California and the Southern District of Texas; a curfew between the hours of 8:00
10 p.m. and 8:00 a.m.; participation in the Location Monitoring Program with location
11 monitoring technology at the discretion of the Supervising Agency; and placement
12 in the custody of third-party custodian, Attorney Stephen Cochell. Lilia Murphy
13 and Brian Kennedy executed affidavits of sureties in support of the bond. Ms.
14 Murphy also deeded her home as collateral. The December 6, 2023 Release Order
15 and Bond Form is attached as Exhibit A.
16        3.     Mr. Cardiff is currently living with Attorney Cochell in Kingwood,
17 Texas, and he is being supervised by United States Probation Officer Jack Sherrod
18 of the Southern District of Texas.
19        4.     Jason Cardiff serves as the CEO and President of Redwood Scientific
20 Technologies, Inc. (“Redwood”). He is seeking permission to travel to Kansas City
21 without his third-party custodian, Attorney Cochell, on December 30, 2023 with a
22 return to Texas on January 1, 2024. The purpose of this requested travel is to
23 engage in two days of meetings and engagements with Redwood shareholders and
24 directors. Surety Brian Kennedy will be in attendance at these meetings and
25 engagements as well.
26        5.     On December 19, 2023 and December 20, 2023, my law partner, Hilary
27 Potashner, spoke with United States Probation Officer Jack Sherrod, the federal
28 officer supervising Mr. Cardiff. With the understanding that Attorney Cochell
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     DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S EX PARTE APPLICATION
                         FOR PERMISSION TO TRAVEL TO KANSAS CITY
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 1 would not be traveling with Mr. Cardiff, Officer Sherrod advised that United States
 2 Probation does not oppose this request. Officer Sherrod did, however, request that
 3 the curfew be lifted for the nights that Mr. Cardiff would be at a hotel in Kansas
 4 City, explaining that it is logistically difficult to enforce a curfew in a hotel.
 5         6.     Should Mr. Cardiff be permitted to travel to Kansas City, he will
 6 nonetheless remain subject to the bond condition that he participate in the Location
 7 Monitoring Program.
 8         7.     Hilary Potashner also personally spoke by telephone on December 20
 9 with Sureties Lilia Murphy and Brian Kennedy. Both Ms. Murphy and Mr.
10 Kennedy indicated that they do not oppose Mr. Cardiff’s request.
11         8.     On December 20, 2023, AUSA Valerie Makarewicz advised that the
12 government opposes Mr. Cardiff’s request to travel to Kansas City.
13         I declare under penalty of perjury under the laws of the United States of
14 America that the foregoing is true and correct to the best of my knowledge.
15         Executed on this 20th day of December, 2023, at Los Angeles, California.
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17                                               /s/ Stephen G. Larson
                                                 Stephen G. Larson
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     DECLARATION OF STEPHEN G. LARSON IN SUPPORT OF JASON CARDIFF’S EX PARTE APPLICATION
                         FOR PERMISSION TO TRAVEL TO KANSAS CITY
